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           14                      UNITED STATES DISTRICT COURT
           15            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           16
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           17      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  REPLY IN SUPPORT OF APPLE’S
           18      a Delaware corporation,                       MOTION TO STRIKE PLAINTIFFS’
                                                                 UNTIMELY REASONABLE
           19                         Plaintiffs,                ROYALTY THEORY
           20            v.
                                                                 Date: December 12, 2022
           21      APPLE INC.,                                   Time: 1:30pm
                   a California corporation,                     Expert Discovery Cut-Off: Dec. 12, 2022
           22                                                    Pre-Trial Conference: Mar. 13, 2023
                                      Defendant.
           23                                                    Trial: Mar. 27, 2023
           24
                                          REDACTED VERSION OF
           25                    DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           26
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             1                                      I.      INTRODUCTION
             2              Two-and-a-half years ago, Apple served Interrogatory No. 17, which asks
             3     Plaintiffs to “identify[] and describe[] in detail all [d]ocuments … relating to” the
             4     “factual and legal bases” for their damages claim. Ex. 1 at 7. After the Special Master
             5     ordered Plaintiffs to provide a more detailed response to Apple’s interrogatory, they
             6     served a supplement in March 2022 that identified five specific agreements and/or
             7     discussions “that may be used to determine a reasonable royalty in this matter.” Id. at
             8     14-15. Plaintiffs did not identify the                       in that response or any of their
             9     subsequent four supplements. Then, in October 2022, Plaintiffs served an expert report
           10      that relies on the                    to justify a royalty as high as           .
           11               Plaintiffs do not dispute any of this. Instead, they primarily argue that they did
           12      not violate FRCP 26(e) by failing to list the                       because they noted in an
           13      early supplemental response (from August 2020) that they “may rely” on Product and
           14      Licensing Agreements (“PLAs”) to prove their reasonable royalty case. Opp. 1. But
           15      this statement—that Plaintiffs (1) might (2) at some point in the future (3) use an
           16      unknown number of documents from (4) a broad category that admittedly includes
           17      dozens of agreements—does not come remotely close to a complete answer to Apple’s
           18      request for the specific documents that Plaintiffs will rely upon to support their damages
           19      case. See Jones v. Travelers Cas. Ins. Co. of Am., 304 F.R.D. 677, 678-679 (N.D. Cal.
           20      2015); see also Dkt. 1031 at 3. Indeed, this statement was part of the earlier response
           21      that the Special Master concluded was insufficient and that failed to provide Apple with
           22      adequate notice regarding Plaintiffs’ damages claim.            Mot. 4.   Plaintiffs’ related
           23      assertion that it had “no reason to differentiate among the [PLA] agreements,” Opp. 1,
           24      similarly does not pass the straight-face test.1 The reason such differentiation was
           25
           26      1
                    Plaintiffs’ opposition uses the terms “Product and Licensing Agreement” and
           27      “Original Equipment Manufacturer Agreement” as synonyms, apparently in a post-hoc
                   attempt to make their witnesses’ deposition testimony (which often used the latter)
           28      align with their interrogatory response (which used the former).

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             1     required is simple: Apple’s interrogatory request asked for Plaintiffs to be specific and
             2     identify “all documents” that were related to their damages claim.
             3            Nor are Plaintiffs right that listing out the specific licenses upon which Plaintiffs’
             4     expert might rely in their supplemental response would have somehow destroyed their
             5     expert’s independence or have otherwise been infeasible. It is common practice for
             6     parties to disclose the licenses on which they will rely in response to interrogatories
             7     served during fact discovery. Plaintiffs themselves identified other specific agreements
             8     that their expert analyzed (i.e.,                                                  ); there is
             9     no reason they could not similarly have identified the PLAs they believed pertinent. In
           10      fact, Plaintiffs apparently did develop such a list for their expert’s use, as his report
           11      indicates he reviewed “                                             Ex. 2 at ¶ 194; Opp. 6,
           12      even though there are at least            similar to the                 . Although Apple
           13      does not have the burden to prove damages, Apple identified each of the Apple licenses
           14      that its damages expert now relies upon prior to the close of fact discovery in response
           15      to Plaintiffs’ interrogatory seeking Apple’s “contentions concerning Plaintiffs’ damages
           16      in this case” including the “identifying and describing in detail all Documents and
           17      Communications relating to such contentions.” See Ex. D at 38, 53-54, 57; infra pp. 5-
           18      6.
           19             Plaintiffs accordingly retreat to arguing that Apple could not have suffered
           20      prejudice because Apple knew, as a general matter, that Plaintiffs might rely on some
           21      PLAs and that the PLAs were thus important to their damages theories. But Plaintiffs
           22      cannot reasonably fault Apple for failing to pick the right PLA needle out of the
           23      discovery haystack, particularly when Plaintiffs’ interrogatory responses expressly listed
           24      licensing agreements/discussions with other companies (e.g.,                  ) as relevant.
           25      Contrary to Plaintiffs’ representation that Apple did little with this information, Apple
           26      focused discovery efforts specifically on Plaintiffs’ licensing discussions with             .
           27      For example, Apple inquired about these discussions during depositions with Mr. Kiani
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             1     and Mr. Muhsin, see Ex. 7 at 40-42, Ex. 10 at 74-79, and subpoenaed                 for eight
             2     different categories of documents—only to learn that
             3                                                                                  See Exs. 14, 15.
             4     Plaintiffs contend that the late disclosure of the                   will cause no harm to
             5     the trial schedule because the royalty will not be decided until after trial, but Plaintiffs’
             6     reasoning would (1) provide blanket amnesty for even the most blatant discovery
             7     violations related to the reasonable royalty analysis, and (2) ignore the effect of
             8     Plaintiffs’ late disclosure on earlier deadlines (e.g., expert discovery).
             9            This Court cautioned Plaintiffs months ago—and again, just a few weeks ago—
           10      that their failure
           11                                                           Dkt. 1031 at 11; Dkt. 816 at 10-11.
           12
           13
           14                                Dkt. 1031 at 10. Accordingly, Apple’s motion to strike should
           15      be granted.
           16                                         II.    ARGUMENT
           17             A.     Plaintiffs’ Background Section Is Misleading
           18             Plaintiffs’ background section includes three misleading assertions that taint
           19      their substantive arguments.
           20             First, Plaintiffs imply that Apple has known that Plaintiffs would rely on a PLA
           21      agreement to support their reasonable royalty case since at least January 2022. See
           22      Opp. 2-3; see also id. at 7, 12-13 (making same point). But Plaintiffs cite only two
           23      documents for this point, neither of which supports it. The first is an email exchange
           24      from January 2022 regarding whether Plaintiffs would produce documents showing the
           25                                                                                             Ex.
           26      A at 4. While those RFPs happened to implicate PLAs, the email exchange makes no
           27      reference to any intention of Plaintiffs to rely on these PLAs for damages purposes.
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             1     To the contrary, the only statements related to damages in that email chain are
             2     statements by Apple’s counsel that
             3                                                                              . See Ex. A at 6;
             4     see also id. at 7.
             5            The second document is Apple’s successful December 2021 motion to compel
             6     additional information regarding damages, which summarized Plaintiffs’ then-existing
             7     response to Interrogatory No. 17—including Plaintiffs’ vague statement from August
             8     2020 that they “may rely” on PLAs. See Ex. 5 at 4. Plaintiffs tellingly omit the full
             9     quotation from Apple’s brief, which criticized Plaintiffs’ failure to identify specific
           10      agreements. Compare, e.g., Opp. 12-13 (describing relevant passage as “Apple
           11      admitting Masimo ‘may rely on “Purchasing & Licensing Agreements (‘PLAs’) with
           12      third parties’”) with Ex. 5 at 4 (“Plaintiffs added a brief supplement in August 2020,
           13      noting only … (3) they may rely on ‘Purchasing & Licensing Agreements (“PLAs”)
           14      with third parties’ (but cannot identify those agreements or otherwise describe them for
           15      confidentiality reasons).”).
           16             Plaintiffs relatedly criticize Apple for failing to move to compel further
           17      information regarding their reasonable royalty theory in Apple’s May 2022 motion.
           18      Opp. 5. But Plaintiffs supplemented their response two months prior to list a number
           19      of specific licensing agreements and discussions following Apple’s earlier motion to
           20      compel. Mot. 4-5. Apple had no basis to doubt that Plaintiffs at that time had in fact
           21      listed “all documents” relevant to their royalty theory.
           22             Second, Plaintiffs assert that they have “timely produced all sales data and
           23      financial information                 ,” as well as “the source code that is the subject of
           24      the                   Opp. 3; see also id. at 7, 13, 15 (making same point). Again, the
           25      two sources that Plaintiffs cite for these points do not bear them out. As to the former
           26      (sales and financial data), Plaintiffs rely on a single sentence in an attorney declaration,
           27      which states merely that Plaintiffs have produced
           28

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             1                                                                  Kachner Decl. ¶ 8. Neither
             2      Plaintiffs’ response to Interrogatory No. 17 nor Mr. Kachner’s declaration identifies
             3      these documents—the Kachner Declaration does not provide Bates numbers for
             4                   , much less state that the               constitute “all sales data and
             5      financial information” that Plaintiffs possess.
             6            As to the source code, the very email chain that Plaintiffs rely upon shows that
             7      they have refused to identify what source code that is or where it was produced. See
             8      Ex. 3 at 2-5. Specifically, in response to an October 24, 2022, inquiry from Apple
             9      about the location of                      that is referenced in the                   ,
           10       Plaintiffs’ counsel stated that they had
           11                                                         Id. at 5 (Kachner 10/25/22 email).
           12       When Apple asked Plaintiffs to “identify … when you contend the relevant source
           13       code was” produced, Plaintiffs’ counsel did not substantively respond beyond
           14       suggesting a time for the parties to meet and confer. Id. at 3-4 (Kachner 10/28/22
           15       email). At the meet and confer itself, Plaintiffs asserted merely that the parties had
           16       reached an impasse and did not “suggest that the parties had anything further to
           17       discuss.” Id. at 2 (Garcia 11/1/22 email). Apple cannot verify Plaintiffs’ assertions
           18       about whether relevant underlying source code was produced because Plaintiffs neither
           19       identified the “                   as practicing any asserted trade secrets, nor offered
           20       any contentions—during fact or expert discovery—about what portions of that
           21                                                                   are alleged to practice the
           22       alleged trade secrets.
           23             Third, Plaintiffs imply that Apple identified so many potentially relevant
           24       licenses in Apple’s interrogatory response that it was difficult for Plaintiffs to
           25       adequately investigate them. Opp. 6; see also id. at 8 (similar). To be clear, Apple
           26       identified a total of nine licenses—seven in May 2022 and two in August 2022—and
           27       its damages expert did not rely on any other Apple agreements in laying out Apple’s
           28

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             1      damages defense.2 While Plaintiffs vaguely assert that one of the documents that
             2      Apple’s expert identified as “most relevant” had not been disclosed by Apple, they do
             3      not provide any details about what that document allegedly is that would allow Apple
             4      to squarely rebut this charge.3
             5               B.    Plaintiffs Violated FRCP 26(e) By Failing To Disclose The
             6                                    In Response To An Interrogatory That Asked Them To
             7                     Identify “All Documents” Related To Their Damages Claim
             8               As explained, FRCP 26(e) required Plaintiffs to disclose the                     in
             9      their response to Interrogatory No. 17. Mot. 8-10. Plaintiffs’ failure to do so was
           10       particularly remarkable because (1) Apple had moved to compel on this very
           11       interrogatory, and the Special Master had ordered them to provide more information in
           12       response, (2) Plaintiffs listed five other specific licensing agreements/discussions, and
           13       (3) Plaintiffs produced a total of           involving similar technology, but their
           14       expert relied solely on the                   . Id. Plaintiffs’ responses are unpersuasive.
           15                First, Plaintiffs point to a mishmash of record citations to show that Apple was
           16       on notice that Plaintiffs might rely on PLAs in general to support their reasonable
           17       royalty theory. Opp. 7. But as Apple pointed out, this generic assertion was
           18       insufficient to put Apple on notice that Plaintiffs would rely specifically on the
           19                      . Mot. 7. In any event, Plaintiffs identify only one place in the record
           20       where they made even this general connection—the statement in the August 2020
           21       interrogatory response. The remainder of Plaintiffs’ citations either paraphrase the
           22       August 2020 statement, see Ex. 5 at 4; supra p. 4, or refer to PLAs with no mention of
           23
           24       2
                     Plaintiffs twice incorrectly assert that Apple identified ten Apple license agreements.
                    Opp. 6, 8. Even their own expert report refutes that statement. See Ex. 2 at ¶ 173
           25
           26       3
                      In preparing this brief, Apple noticed its interrogatory response’s citation to one
                    agreement                     identified it by the Bates number of the last page of the
           27       agreement rather than the first. See Ex. D at 132. Plaintiffs were still able to locate the
                    license, as Mr. Kinrich’s report listed                  as a relevant agreement Apple
           28       had produced before seeing Apple’s o                    s report. Ex. 2 at ¶ 173.
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             1      their relevance to Plaintiffs’ current reasonable royalty argument, see Exs., A, 7, 11—
             2      which is unsurprising, since PLAs are relevant to many aspects of Plaintiffs’ case,
             3      including whether third parties practice their alleged trade secrets, Ex. A at 6.4
             4               Plaintiffs relatedly contend that it was not misleading for them to list some
             5      specific licensing agreements/discussions in their interrogatory response because none
             6      of them was a PLA. Opp. 9. But if anything, Plaintiffs’ August 2020 statement that
             7      they might rely on PLAs followed by their (1) March 2022 supplement listing specific
             8      non-PLAs that were purportedly relevant to the royalty analysis and (2) failure to make
             9      a more definitive statement about whether they were using PLAs, suggested that they
           10       had decided not to rely on PLAs. At the very least, Plaintiffs’ response suggested that
           11       they had not found any relevant PLAs as of their March 2022 supplement, even though
           12       the                    had all been produced by that time. Mot. 10 n.5.
           13                Second, Plaintiffs argue that there was no need for them to identify which of the
           14       approximately              they believed to be relevant to their damages case because the
           15       agreements are so similar as to be interchangeable. Opp. 7. But Plaintiffs’ own
           16       actions suggest the contrary. They winnowed the field by presenting their damages
           17       expert with “                                          ” of which only a small handful
           18       were PLAs. Ex. 2 at ¶ 194, Ex. 15.B. They fail to explain why they could not have
           19       provided Apple with the same list in their interrogatory response, particularly given
           20       that the response does expressly mention some of those agreements. See Ex. 2, Ex.
           21       15.B. at 1-3, 5-6, 10-11 (referencing                                     and Plaintiffs’
           22       arrangements with                        ). In any event, the list of agreements Mr.
           23       Kinrich reviewed included PLAs with several third parties, see Ex. 2 at Ex. 15.B, but
           24
           25
           26       4
                      Of Exhibits A, 7, and 11, only Exhibit 7 mentions the word “royalty” and does so just
                    three times. Two of the references relate to Plaintiffs’ discussions with          . See
           27       Ex. 7 at 41, 42. The third acknowledges Plaintiffs have “royalty deals” with OEMs,
                    but denied Plaintiffs                                                Id. 55, even though
           28       that is what Mr. Kinrich claims the                   do, Mot. 6.
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             1      he relied on only the                   for his reasonable royalty, which further rebuts
             2      Plaintiffs’ suggestion that the PLAs are fungible.
             3            Third, Plaintiffs argue that it would be “improper[]” for them to “pick[] the
             4      precise Agreement on which [their] expert must rely.” Opp. 9; see also Opp. 7
             5      (making similar argument that an expert should assess license comparability). This is
             6      a red herring. Apple has never argued that Plaintiffs were required to identify only the
             7      licensing agreement that their expert would ultimately rely upon, or that they were
             8      required to pick agreements for their expert. Rather, the interrogatory asked Plaintiffs
             9      to identify “all documents” that related to their damages contentions—here, that would
           10       at least include the                                            Plaintiffs thought
           11       sufficiently similar to this case to provide to their expert.
           12             Because Plaintiffs’ underlying argument about the role of an expert is a red
           13       herring, the eight cases Plaintiffs rely upon to support that argument are inapposite.
           14       Not one of them addresses the situation in this case, where an interrogatory asked a
           15       party to identify all documents relevant to its damages case and that party listed some
           16       licensing agreements but not the agreements it ultimately relied upon.
           17             Three of those cases stand merely for the non-controversial proposition that it is
           18       appropriate for an expert to provide an opinion on which of a finite number of licenses
           19       is most comparable to the hypothetical negotiation in the underlying litigation. See
           20       Bio-Rad Labs., Inc., v. 10X Genomics Inc., 967 F.3d 1353, 1372 (Fed. Cir. 2020);
           21       Active Video Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1333 (Fed. Cir.
           22       2012); Finjan, Inc., v. Cisco Sys. Inc., 2020 WL 13180008, at *10 (N.D. Cal. June 5,
           23       2020).
           24             Another four (largely out-of-circuit) cases state only that an expert should
           25       conduct an independent analysis based on his or her own knowledge—a basic concept
           26       that is both uncontested and not at issue here. See Gonzalez Prod. Sys., Inc. v.
           27       Martinrea Int’l Inc., 2015 WL 4771096, at *9 (E.D. Mich. Aug. 13, 2015); Waymo
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             1      LLC v. Uber Techs., Inc., 2017 WL 6887043, at *5 (N.D. Cal. Nov. 14, 2017);
             2      Sommerfield v. City of Chicago, 254 F.R.D. 317, 324 n.5 (N.D. Ill. 2008); F.D.I.C. v.
             3      First Heights Bank, F.B., 1998 WL 34363723, at *4 (E.D. Mich. Apr. 13, 1998). In
             4      fact, Plaintiffs’ own authority emphasizes that a party should provide “[d]iscovery of
             5      all materials provided to the expert by the attorney,” First Heights, 1998 WL
             6      34363723, at *4, something that Plaintiffs’ interrogatory response failed to do.
             7              Plaintiffs’ last case involved a motion in limine to exclude “irrelevant or unduly
             8      prejudic[ial]” licenses, where the moving party stated that it “would not object to [the
             9      non-moving party] introducing licensing agreements that the parties’ experts have
           10       identified as comparable.” Hebrew Univ. of Jerusalem v. General Motors LLC, 2012
           11       WL 12507522, at *3 (C.D. Cal. May 31, 2012). Apple has made no such concession
           12       here.
           13               Fourth, Plaintiffs appear to argue that Apple should have been able to identify
           14       the                   as uniquely relevant to this case because one of Plaintiffs’
           15       employees (Fishel) mentioned         as an OEM partner once during a deposition. Opp.
           16       8-9. But as Apple has already explained, (1) Mr. Fishel was unable to answer follow-
           17       up questions regarding whether the
           18                    at issue in this case and, in any event, (2) a fleeting reference to a licensing
           19       agreement in a deposition does not constitute notice of a damages theory based on that
           20       agreement. Mot. 9 (citing E. & J. Gallo Winery v. Strategic Materials, Inc., 2019 WL
           21       3729811, at *6 (E.D. Cal. Aug. 8, 2019)). Plaintiffs have no answer, beyond baldly
           22       asserting that Apple “did not ask follow-up questions” after        was named. Opp. 3.
           23       Even a brief glance at the deposition transcript shows that this too is false. See Ex. 11
           24       at 5 (Q: “And do those [                  ] licenses cover any of the trade secret
           25       technology at issue in this case? … A: “I—I don’t believe that I’m the right person to
           26       speak to the –the trade secrets that are … at stake in this … matter.”); id. (Q: “So
           27       sitting here today, you can’t testify one way or another whether the licenses relate to
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             1      Masimo’s trade secrets, the licenses we just discussed?” A: “Yes. No. I--I believe
             2      your question is more broad than I can respond to.”). Moreover, Mr. Fishel stated that
             3      Mr. Kiani would be best situated to answer Apple’s questions. Id. Yet when Apple
             4      asked Mr. Kiani, he flatly denied
             5
             6
             7                           .
             8               Finally, Plaintiffs attempt (but fail) to distinguish the cases Apple relied upon to
             9      show a violation of FRCP 26(e) in its opening brief. For the most part, Plaintiffs argue
           10       that Apple’s cases can be distinguished because Apple was on notice that Plaintiffs
           11       would rely solely on the                     to justify a royalty award of up to
           12                . Opp. 10-11. As the rest of this section demonstrates, this is false. See supra
           13       pp. 6-10.5
           14                Most tellingly, Plaintiffs do not even address the merits ruling of the most on-
           15       point case that Apple cited: Polaris PowerLED Technologies, LLC v. VIZIO, Inc.,
           16       2020 WL 4258663, at *2-3 (C.D. Cal. May 14, 2020) (Selna, J.), cited in Mot. 8.
           17       There, as here, the plaintiff presented a new damages theory for the first time in an
           18       expert report, even though it “ha[d] all of the necessary information to disclose this
           19       theory … in the course of fact discovery.” Id. And there, this Court held that
           20       plaintiffs’ failure to identify this theory in its initial disclosures or supplemental
           21       interrogatory responses violated Rule 26. Id. That is the same result that should apply
           22       in this case.
           23
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           25
           26       5
                      Plaintiffs’ attempt to distinguish Gallo is egregious. Plaintiffs imply Gallo found the
                    non-moving party did not violate Rule 26 by failing to disclose a particular damages
           27       theory, as “the defendant questioned witnesses about it during depositions.” Opp. 11.
                    In fact, Gallo held this “deposition testimony is still far short of a Rule-26 compliant
           28       disclosure” and “sanctions under Rule 37 apply here.” 2019 WL 3729811, at *5.
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             1            C.     Plaintiffs Have Not Met Their Burden To Show That The Failure To
             2                   Identify The                     Was Substantially Justified Or Harmless
             3                   1.     Plaintiffs’ Statements About The FRCP 37(c)(1) Legal Standard
             4                          Are Misleading Or Irrelevant
             5            This Court’s recent ruling on Apple’s Motion to Strike Plaintiffs’ Rule
             6      26(a)(2)(C) Disclosures sets forth the proper standard under FRCP 37(c)(1)—i.e., it is
             7      a “self-executing and automatic” sanction that prohibits the “use of … information”
             8      that was not properly identified under Rule 26(e) “unless the failure was substantially
             9      justified or is harmless.” See Dkt. 1031 at 3; accord Mot. 10-11.
           10             Plaintiffs brush by this straightforward articulation of the law and instead have
           11       simply copied and pasted the same, lengthy legal standard section that they used in
           12       their opposition to Apple’s prior Motion to Strike. Compare Dkt. 980-1 at 12-14 with
           13       Dkt. 1029-1 at 11-12. Apple has already explained why these arguments are
           14       misleading: (1) they fail to acknowledge that Plaintiffs—not Apple—have the burden
           15       to establish substantial justification/harmlessness, (2) they rely on a four-factor test
           16       that is not mandatory, and (3) they do not identify a single case with comparable facts
           17       where a court declined to exclude late-identified evidence. See Dkt. 1003 at 10-12.
           18       Indeed, because Plaintiffs have simply re-used their legal standard section, nearly all
           19       their cases involve questions about whether a witness can permissibly testify. The
           20       only two decisions that involve whether late-identified information should be excluded
           21       both deal with a failure to timely produce updated documents related to sales/costs.
           22       See Homeland Housewares, LLC v. Sharkninja Operating LLC, 2016 WL 1698254, at
           23       *3-*5 (C.D. Cal. Apr. 27, 2016); Generations at Pinnacle Peak LLC v. Whitestone
           24       Pinnacle of Scottsdale – Phase II LLC, 2021 WL 9597885, at *3-*4 (D. Ariz. Feb. 22,
           25       2021). Plaintiffs do not even try to argue that the failure to provide updated
           26       information that could affect damages is comparable with the situation in this case—
           27
           28

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             1      the failure to properly identify the sole set of licenses that their expert relies upon to
             2      recommend a multi-billion-dollar royalty.
             3                     2.     Plaintiffs Have Not Met Their Burden To Show Substantial
             4                            Justification Or Harmlessness
             5               This Court is not required to apply the four-factor test that Plaintiffs rely upon in
             6      discussing substantial justification/harmlessness (and, in fact, has declined to do so
             7      twice, see Dkt. 899 at 4-5; Dkt. 1031 at 10-12). However, because Plaintiffs have
             8      grouped their arguments on a factor-by-factor basis, Apple follows that structure for
             9      this Court’s convenience.
           10                a. Surprise/Prejudice. Plaintiffs primarily repeat the same arguments that they
           11       made on the merits—e.g., that Apple was on notice that they would rely on the
           12                      because of the “may rely” language in their interrogatory response from
           13       August 2020 and that it was not misleading for Plaintiffs to list other specific licensing
           14       agreements/discussions in their response. Mot. 12-13. Apple has already refuted these
           15       points. See supra pp. 3-10.6
           16                Plaintiffs also argue that Apple was not prejudiced because they have already
           17       produced sales and source code information related to the                       . Mot. 13.
           18       But neither Plaintiffs’ opposition nor any other document that Plaintiffs have served in
           19       this case (e.g., Mr. Kinrich’s report) identifies those documents. Supra pp. 4-5.
           20       Without knowing what Plaintiffs have produced, it is difficult for Apple to be more
           21       specific in stating what further discovery it would have sought. At a minimum, if
           22       Plaintiffs had identified the                                               covered by
           23       those agreements as relevant, Apple would have sought additional discovery into, inter
           24       alia, (1) which of the purported trade secrets are actually practiced in the source code
           25
           26       6
                      Plaintiffs’ attempts to distinguish Apple’s case law regarding the exclusion of late-
                    identified damages theories rely on the same already-trodden ground and fail for the
           27       same reasons. See Opp. 17-18 (discussing Polaris and Armenian). Plaintiffs also try
                    to distinguish Polaris because the moving party identified specific discovery it would
           28       have sought but, as discussed, so has Apple. Infra pp. 12-13.
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             1      licensed by the                   , (2) how those trade secrets are practiced, (3) what
             2      products sold to       incorporate the source code and what other technologies those
             3      products incorporate, and (4) the sale price, sale quantities, and the time periods in
             4      which those products were sold.
             5            Finally, Plaintiffs assert that Apple was not prejudiced by its inability to take
             6      discovery directly from        because Apple has not taken third-party discovery in other
             7      instances. Mot. 13-14. To the contrary, Apple sought discovery from                  the
             8      party that received the most prominent billing in Plaintiffs’ interrogatory response. See
             9      Ex. 1 at 20 (noting that “based on … discussions” with
           10
           11
           12                                                            . Specifically, Apple subpoenaed
           13                , seeking eight different categories of documents and communications that
           14       would have allowed Apple to test Plaintiffs’ claims. Ex. 14 at 11-12.
           15       ultimately identified only one responsive document. Apple also raised the
           16       discussions during depositions with Mr. Kiani and Mr. Muhsin, see Ex. 7 at 40-42, Ex.
           17       10 at 74-79, but learned that they had not progressed past a mutual assurance between
           18       Plaintiffs and
           19                   Ex. 7 at 40-41. Plaintiffs’ claim (Opp. 14) that Apple sought “limited
           20       discovery” is thus misleading—Apple diligently pursued discovery, only to learn that
           21       there was virtually nothing to back up Plaintiffs’ royalty argument.
           22             b. Ability to Seek Discovery Now. Plaintiffs argue that they should not be
           23       sanctioned because they offered to provide Apple with additional discovery into the
           24                          . To be clear, Plaintiffs first made this (vague) offer on November 11,
           25       2022—i.e., 13 weeks after the close of fact discovery and one business day before the
           26       date Apple had informed them it would file this motion. Mot. 11; see also Mot. 7-8
           27       (discussing parties’ prior correspondence). In any event, Plaintiffs do not dispute that
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             1      (1) this Court’s schedule does not permit the parties to serve fact discovery at this point
             2      or (2) Apple did not have the necessary time to serve requests, receive and process new
             3      information about the                        under the existing deadlines. Mot. 12.
             4      Accordingly,
             5      Dkt. 1031 at 11, as all opening and rebuttal expert reports have been served and Apple
             6      is in the process of preparing for trial.7
             7               c. Trial Timing. Plaintiffs contend that their FRCP 26(e) violation can be
             8      remedied without disrupting the case schedule because reasonable royalty awards are
             9      not set until after trial. Opp. 15-16. Apple accepts Plaintiffs’ representation that they
           10       will not present a reasonable royalty case to the jury. But a party is not immune from
           11       FRCP 37(c)’s “automatic” sanction simply because the information at issue will come
           12       into play shortly after trial rather than during it. Again, forcing Apple to juggle
           13       additional fact and expert discovery long after the relevant deadlines have passed and
           14       while it is preparing for the issues that Plaintiffs will raise at trial is highly prejudicial.
           15                Plaintiffs also (Opp. 14, 16-17) rely heavily on a pair of decisions from the
           16       Atlantic Inertial Systems litigation, neither of which is on point. The Ninth Circuit’s
           17       unpublished decision appears to have permitted the trade secret plaintiff to go forward
           18       with a late-identified reasonable royalty theory because the defendant did not raise a
           19       timeliness objection in front of the district court but instead “responded to the [royalty]
           20       request on the merits.” Atlantic Inertial Sys., Inc. v. Condor Pacific Indus. Of Calif.,
           21       Inc., 545 F. App’x 600, 601 (9th Cir. 2013); see also Appellant’s Reply Br., Atlantic
           22       Inertial Sys., Inc. v. Condor Pacific Indus. of Calif., Inc.,, 2012 WL 3105379, at *18
           23       (9th Cir. July 6, 2012) (arguing that defendant “waive[d] any arguable error with
           24       respect to [plaintiff’s] purported late filing, with [defendant’s] own responsive filing
           25
           26       7
                      Plaintiffs’ suggestion (Opp. 15) that Apple could have served a subpoena on       after
                    receiving Mr. Kinrich’s report is not credible. Doing so would have clearly vi     ed
           27       this Court’s scheduling order, which sets the deadline for all non-expert discovery as
                    August 12, 2022. Regardless,        may not have been willing to produce any
           28       documents without a court order and Apple would not have had time to depose         .
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             1      (and [defendant’s] failure to move to strike such evidentiary submission)”). In
             2      contrast, Apple has moved promptly to prevent Plaintiffs from relying on their late-
             3      disclosed royalty theory.
             4               The Atlantic Inertial Systems remand decision is no more helpful to Plaintiffs.
             5      There, the district court refused to exclude a late-produced license agreement because
             6      doing so would have “effectively result[ed] in dismissal of” Atlantic Imperial’s
             7      damages case, particularly because a jury had already rejected the plaintiff’s lost
             8      profits and unfair enrichment theories. See Atlantic Inertial Sys, Inc. v. Condor Pacific
             9      Indus. of Calif., Inc., 2014 WL 4180955, at *2-*3 (C.D. Cal. Aug. 18, 2014); see also
           10       Atlantic Inertial Sys., 545 F. App’x at 601 (noting that reasonable royalty theory was
           11       available only because “neither damages nor unjust enrichment” were available). Rule
           12       26(e) motions decided in that posture are subject to a higher standard of review—i.e., a
           13       court must consider whether “the claimed noncompliance involved willfulness, fault,
           14       or bad faith.” R&R Sails, Inc v. Ins. Co. of Penn., 673 F.3d 1240, 1247 (9th Cir. 2012).
           15       Here, even if Apple’s motion is successful, Plaintiffs still have at least a live claim for
           16       monetary relief under an unjust enrichment theory.8 Moreover, even without the
           17                      and Mr. Kinrich’s accompanying analysis, Plaintiffs could at least attempt
           18       to put on a reasonable royalty case based on the timely-produced evidence in the
           19       record. In other words, by excluding Mr. Kinrich’s belated royalty theory, this Court
           20       would “ma[k]e it much more difficult, perhaps almost impossible,” for Plaintiffs to
           21       seek a royalty, but that does not mean that the exclusion is the equivalent of
           22       “dismissing a cause of action outright as a discovery sanction.” Yeti by Molly, Ltd. v.
           23       Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001).
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             1               d. Bad Faith or Willfulness. Plaintiffs are wrong that this Court must find that
             2      they acted in bad faith or willfully in order to grant Apple’s requested relief. Opp. 17.
             3      That requirement only applies when the exclusion would result in the dismissal of a
             4      claim. R&R Sails, 673 F.3d at 1247 n.1; see also Hoffman v. Constr. Protective Servs.,
             5      541 F.3d 1175, 1180 (9th Cir. 2008) (“[W]e reject the notion that the district court was
             6      required to make a finding of willfulness or bad faith to exclude the damages
             7      evidence.”). As discussed, that is not the situation here. See supra p. 15.9
             8               In any event, as this Court recently explained, Plaintiffs have long been on
             9      notice that the Court expects them to be
           10
           11                    Dkt. 1031 at 11-12 (quoting Dkt. 816 at 10 n.6, 11). By failing to be
           12
           13
           14
           15                                 Dkt. 1031 at 11-12 (quoting Dkt. 816 at 10-11). On this record,
           16       it is hard to see how Plaintiffs’ conduct demonstrates anything other than bad faith or
           17       willfulness.
           18                                          III.   CONCLUSION
           19                Apple respectfully requests that the Court strike Plaintiffs’ previously undisclosed
           20       damages theory based on the                         contained in Kinrich Report Paragraphs
           21       8, 195, 209-224, 236-237, and 242-245, and Exhibits 7.A-B and 15.B. Apple’s proposed
           22       strikes are set forth in highlights in Exhibit 2.
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           26       9
                      Plaintiffs’ reliance (Opp. 17) on Fjelstad v. American Honda Motor, 762 F.2d 1334,
                    1338 (9th Cir. 1985), is misplaced. Fjelstad dealt with a wholly different doctrine than
           27       the exclusion of evidence under Rule 37(c). It involved a court’s “inherent power to
                    dismiss an action when a party has willfully deceived the court and engaged in conduct
           28       utterly inconsistent with the orderly administration of justice.” Id.
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             1      Dated: November 28, 2022              Respectfully submitted,
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